 

UNITED STA'I`ES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
BETTY PELC, et al.,
Plaintirfs, `
v. Case`No.: 8:11-cv-00079-EAK-TGW
JOHN JEROME NOWAK,
Defendants. /

 

AFFIDAVIT OF MICHAEL J. C()LITZ, IIL ESO.
AS TO REASONABLENESS OF ATTORNEYS’ FEES

STATE OF FLORIDA )
COUNTY OF HILLSBOROUGH )

BEFORE ME, the undersigned authority, personally appeared Michael J. Colitz,
III, Who, being first duly sworn, deposes and says:

1. I am an attorney-at-law who is admitted to the Bar of the State of Florida.
I am registered to Practice before the United States Patent and Trademark Ofiice. l have
been admitted to the Florida Bar since 1999, I have been admitted to practice before the

United States Patent and Tradernark foice since 1993.

- ~Z'.-~ w --~~"»'I~~h»ave~`t)een-W a~~ partner of~~»the law 1 ~t'i~rm"~of~GrayRobinson,» ¢~P i~A~.- in--Tampa,- - ~ ~~~- …- ~

Florida for approximately three (3) years. l Was previously a partner at the law linn of
Holland & Knight, LLP. I practice exclusively in the area of Intellectual Property laW.

3. l am a 1991 graduate of the University of Notre dame vvith a Bachelor of
Science in Mechanical Engineering. I obtained my law degree from Stetson University

College ofLaW in 1998.

 

4. l have always limited my practice to intellectual property law, including
patent, trademark, and copyright litigation, and related prosecution and licensing l have
been substantively involved in over fifty (50) intellectual property law cases in various
federal courts throughout the country.

5 . l am a Registered Patent Attomey, and l am also Board Certified by the
Florida Bar in lntellectual Property Law. l am a member in good standing of the District
Courts for the Northern, Middle, and Southern Districts of Florida, the U.S. Court of
Appeals for the Eleventh Circuit, and the U.S. Court of Appeals for the Federal Circuit.

6. l n'equently lecture on various topics relating to intellectual property law. I
also occasionally teach patent law to graduate level engineering students at the University
of South Florida.

7. l am aware of and knowledgeable of the amount customarily charged by
attorneys and allowed by courts as a reasonable attorneys’ fee for handling intellectual
property cases.

8. l have been called upon to express an opinion as to what would constitute
a reasonable attorneys’ fee for the services rendered by the attorneys for Bet‘ty Pelc,

Robert Pelc and Advantage Trim & Lumber of Florida, lnc. (the Plaintiffs) in the above

 

9. I have reviewed various time entries and billing narratives for work

conducted by Rivera Law and Shumaker, Loop & Kendrick, LLP (SLK) as the two law

firms representing the Plaintiffs.

lO. Exhibit A summarizes the time entries of the two attorneys nom Rivera
Law who worked on the present litigation Collectively this exhibit reflects a total of
237.4 hours at a blended billing rate of $262/hr for a total amount billed of $62,216.50.

ll. Exhibit B summarizes the time entries of attorneys and paralegals from the
SLK law firm who worked on the present litigation Collectively this exhibit reflects a
total of 64.8 hours time at a blended billing rate of $324/hr for a total amount billed of
$2 1,053.5 0.

12. The total legal fees expended by both firms in this litigation amounted to
approximately $83,270.00.

13. l have reviewed the docket entries and various pleadings associated with
the litigation l note that the complaint Was filed on January ll, 2011 and that it contained
fourteen different counts, including defamation, tortious interference, invasion of privacy,
and federal trademark infringement [Dkt. l.] The complaint contained a demand for
compensatory damages in the amount of $1,000,000.00 in addition to attorneys’ fees and
costs. A bench trial was held on July 16, 2012. [Dkt. lOO.] The litigation has been
pending for a total of 22 months and there has been record activity in each month of the

litigation

bi-annual economic survey. This survey is widely used by intellectual property attorneys
in both valuing their services and estimating the fees and costs for intellectual property
litigation The 2011 survey lists nationwide means for trademark litigation These figures
are broken down through different stages of litigation and by the total amount in

controversy. According to the survey, a trademark case that is litigated through trial and

that has an amount in controversy of less than $1,000,000.00 has a nationwide mean total
cost of approximately $401,000.

15. “Total costs” as used in the survey represents all costs including outside
legal and paralegal services, local counsel, associates, paralegals, travel and living
expenses, fees and costs for court reporters, photocopies, conner services, exhibit
preparation analytical testing, expert witnesses, translators, surveys, jury advisors, and
similar expenses.

16. ln this case, the total amount billed for legal services was considerably
less than the mean total cost identified in the AIPLA survey. This suggests that the total
amount billed for legal fees in this matter is reasonable

17. l have reviewed and examined the noted time entries in this case and have
considered the following factors:

a. the time and labor required;
b. the novelty and difficulty of the legal and factual questions;
c. the skill requisite to perform the legal service properly;

d. the exclusion of other employment by the attorneys due to the
acceptance of the case;

 

 

e. the customary fees of the bar and the fees awarded by the courts for
similar services;

f. the time and preparation for the motions;

g. the time and limitations imposed by the client or by the circumstances;

h. the amount involved and the results obtained;

i. the experience, reputation and ability of the attorney(s).

18. The Afiiant is of the opinion that the total number of hours sought for

reimbursement and the effective hourly billing rates (as reflected in Exhibits A and B) are

reasonable and not excessive for a case such as this and are of the magnitude that would
have been charged by lawyers of the same skill level under similar circumstances

l9. The Affiant believes that the total fees sought for reimbursement as
reflected in Exhibits A and B were necessarily incurred in the successful prosecution of
this case.

Further affiant sayeth naught.

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mcha@i J. Coit;z, in

 

Swoni to and s scribed before me this 6th day of October 17 2012, by Michael
J. Colitz, I]I, who is personally known OR [:l has produced
as identification

My commission expires: :Qi LL/QM(E) bl~:lQ:/CQC{; y\--/

(Seal) (Signature ofNotary)

 

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_.= EXP|RES: March 28, 2014 _ .
Banded mm Nmary Public underwriters 3 (Prmted Name of Notary Publl¢j/

 

# 3504675 vl

 

EXHIBIT A

 

 

Dec 14, 2010 n

Drafting Comp|aint.

 

 

     

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

exhibits

 

 

DJB $285.00 2.2 $627-00
Dec 29, 2010 Legal research re: trademark counts for complaint DJFi $285.00 1.7 $484.50
Dec 29, 2010 Drafting complaint DJR $285.00 2.1 $598~50
Llan 4 2011 Drafting complaintl DJR $285.00 4.5 $1.282.50
Feb 9, 2011 Telephone conference with opposing counsel. DJR $285.00 0.4 $114-00
Feb 15, 2011 Fiesearching issues of FL cases on cyberstalking DJR $285.00 1.5 $427.50
and motion to dismiss trademark claims.
Feb 17, 2011 Finalize research re: issue of cyberstalking; DJF{ $285.00 1.2 $342-00
…_. Correspondence to client
l\/|ar 4, 2011 Legal research re: case law for opposition to l\/lotion DJF{ $285.00 2.6 ‘ $741-00
. . . ...... to DiSmISS' .. _._. w .... .… ,.. …,. - .....,....... . ......._.. '. b ....,. .....,,. . .'.. ,.......,..4 . .. ,. . -......_ .. . , v .
l\/lar 7, 2011 'Drafting opposition to l\/lotion to Dismiss DJF{ $285. 00 3.1 $883-59
Mar 9, 2011 b Drafting response to motion __ DJ_FZ .4_$285. 00 ______ 1.1_4 y $313-§0
l\/lar 10l 2011 Drafting C)pposition to l\/lotion to Dismiss and related DJR $285. 00 2.8 $793-09
________________ affidavits
Apr 14, 201 1 Review correspondence from Court re: scheduling DJF£ $285.00 0.4 $114~90
order and discovery orders entered.
Apr 15, 2011 Prepare and research upcoming court dates/ JC $250.00 0.75 * z $157-50
....., ,.. .. deadlines ~~~~~
l\/lay 9, 2011 Begin preparing discovery requests JC $250.00 4.59 $11147-50
l\/lay 10, 2011 Document and review new defamation on Nowak's JC $250.00 1.34 $335-99
l\/lay 10, 2011 Continue preparing discovery reguests JC $250. 00 2.25 z $562- 50
l\/lay11_, 2011 Finish preparing discovery requests _ JC w $250. 00 5.09 v _ $127250
l\/lay 17, 2011 Review pleading filed by opposing counsel re: DJR $285. 00 0._9l $85. 50
_` l\/|otion for l_eave; Correspondence to local counsel. ~
l\/lay17, 2011_'_ l\/lodify discovery requests Correspondence to client DJR b $285.00 _ 1 ~0.5 _ l _ $142-50
May'20,`20'1'1' l-“inalize discovery requests; Send discovery to DJR $285.00 0.9 $256»50
opposing counsel
Nlay 24, 2011 Review supplemental response filed by opposing DJR $285.00 0.3 $85-50
__________________ party; Correspondence to C|ient.
l\/lay 25, 2011 Correspondence from opposing counsel; DJR $285.00 0.2 $57.00
4 ._.. 09"9999999"99 t9 9"99¥{9_,..'""‘9' d'99.‘99¥"99 _ __, _ ,. .\_ , ,_ .,_ .4 ._. .,, ,,
Nlay 25, 2011 Prepare draft of initial Disclosures JC $250.00 0.75 $137-50
l\/lay 27, 2011 Fievise lnitia| Disclosures JC $250.00 0.47 _| $117-50
Jun 2, 2011 Heview new posts; Telephone conference With client; DJR $285.00 0.4 $114-00
.. .,. __ Correspondence fro"i{i,€l‘mmeima'i __ _ 1 . ._ _ _ _.
Jun 7, 2011 Amend Cornplaint to include new and revised facts JC >$250 00 _» 3 19 t 1 $797~50
Jun 8, 2011 F"inish amending Cornplaint and preparing new ' JC $250. 00 1 .59 ' $397-50

 

 

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Jun 13, 2011 Correspondence from opposing counsel re: DJR $285.00 0.3
discovery; Correspondence to opposing counsel re:
_ g v same and' issue of amended complaint w n … k _.
Jun 13, 2011 Fiesearch case law for motion to amend and prepare JC $250.00 3.56 l $890.00
motion to amend `
Jun 14, 2011 Various correspondence to/from local counsel and v DJR 9285.00 0.2 $57'-00
v … opposing counsel re: Amended complaint 3 '
Jun 14, 2011 v Bevise Amended Compiaint JC_ ~_$:250 00 `0.35 $87-59
Jun 21, 2011 Final revisions to amended complaint DJR $285 00 0.5 $142.50
Correspondence to local counsel.
Jun 21, 2011 _ Ftevise motion for leave to amend Compiaint JC $250.00 0.25 $62-50
Jui 6, 2011 F"inalize motion for leave to amend complaint and DJR $285.00 . 0.5 $142~50
_ , amassed Compiaint §_CF filing _ _ __ __ __ _ __ __ __ __
Jul 20, 2011 Review l\lowal<’ s response to motion to amend JC $250.00 0.59 $147-50
complaint and review local rules re: reply _
Jui 27, 2011 Flesearch case law for reply; prepare motion for JC $250.00 3.58 $395-00
leave to file a reply and the reply
Jul 28, 2011 Correspondence from/to local counsel re: extension Dth ' ' $285.00 0.3 3585-50
for discovery; Telephone conference With client re:
status.
Aug 2, 2011 Correspondence from opposing counsel re: DJR $285.00 0.5 $142~50
discovery responses; issue of withdrawal from case;
initial review of discovery responses
Aug 9, 2011 Telephone conference with client v DJR $285_.00 0.2 $57-.00
Aug 17, 2011 Correspondence to opposing counsel re: position on DJR $285.00 0.2 $57-00
__ liraint for __L_@svs 19 near __ ___ _ . ___ __ __ __ __ ___
Aug 18, 2011 Organize objections to discovery responses DJR $285 00 0.3 $85'50
received; Correspondence to opposing counsel re:
… * discovery issues and depositions
Aug 18, 2011 Review Nowai<’ s discovery responses; research JC $25_0.00 1.59 $397'59
_ _ _ _ 9‘999__"9ry ‘9_9999 __ _ _ _ __ __ __ _ _ __ _ _ __ ___
Aug 18, 2011 Research motion to compel; begin preparing motion JC $250.00 4_19 $1,047_50
_____ ____, ___ _____i9__99_r9_99' _
Aug 19, 2011 Various correspondence to/from opposing counsel; DJR $285.00 1_1 $313-50
__ _ b __ ___ _ _Ei_riaiize i\/lotion for Leave to Fiie Repiy, EGF filing w … it _ 4 g …
Aug 19, 2011 Continue preparing motion to compel discovery JC $250.00 2.75 $637-50
Aug 22, 2011 F"inish preparing motion to compel discovery ..|C $250.00 2.57 $642-50
Sep 21, 2011 _Begin revising Amended Compiaint JC $250.00 0.59 $1'47-50
Sep 22, 2011 Fina|ize and file Suppiementai Compiaint per the l DJFi $285.00 1.1 $313-50
instructions in Court's Order; Correspondence to '
’Nowak re: Suppiementa| Compiaint
Oct 4, 2011 ` _ Telephone conference with client DJB ___4 $285 00 . »_0.2, v z 957-00
Oct 5, 2011 _Research Nowai<’s new iSPs and revise Compiaint JC $250. 00 2_59 ` $647-50
Oct 12, 2011 Additional modifications to Amended Compiaint and DJFi $285_00 0.5 $142-50
_ _ _ __ re_l'l‘“_g _ __ _ __ _
Oct 31, 2011 y Research screenshots for meta tags JC z 1 $250 00 0.2 k m_§‘§?-'O_O

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nov 3, 2011 iFiesearch on AFiii\i, website hosting, and contributory JC $250.00 2.41 $602.50
_ _ _ ..1119119111911< 11111111991119111 ___ ._ __ _ 1 _
i\iov 7, 2011 ;i3evise motion to compel 1 '_ JC $250 00 w 1 .14 $255 00
i\lov 11, 2011 Finaiize and file i\/lotion to Compei Discovery DJl3 $285_ 00 0.6 _ $171 00
Nov 18, 2011 Fievise Motion to Compeldiscovery _ v JC v_ 3250 00… 314 y $785.00
Dec 9, 2011 Correspondence to Softlayer re: copyright DJR $285. 00 0.4 $114.00
v _ __ trademark infringement and iitigation` issues. 4
ijec 9, 2011 ;Begin researching motion for default JC $250.00 2.15 $537-50
ijec12, 2011 §Prepare motion for default continue researching JC $250.00 5.26 $1,315-00
motion for default judgement; begin preparing motion
for default judgment
Dec 13, 2011 W`§_l=inish preparing Motion for Defauit Judgment JC $250.00 3.14 $785~00
Dec 14 2011 Fievise Motion for DefaultJudgment _ JC $250.00 0_33 $82-50
0ec 16, 2011 l Fnalize and file Motion for Default. DJi3… $2_35.00 - 015 $142-50
Dec 21, 2011 i3evise Motion for DefauitJudgment JC __ ” $50 00
ijec 22, 2011 Correspondence from Clerk of Court re: default DJ|3 ,. $57- 00
ijec 22, 2011 Finaiize and file Motion for Defaiilt Judgment DJR $285. 00 0.6 $171 00
Correspondence to client
Jan 12, 2012 Fievise and Fiie new i\/lotion to Compei. DJi3 $285.00 0.5 $142-50
Jan 13, 2012 i3esearch case law for opposition to Nowak's Motion JC $250.00 2.09 $522-50
._ . .. . ._ . to. Set A.Si.de .Entry Of Defauit ... ,.... _» ~ . _4... ..4...,...,.1 ' .....,... ..' v._,\. _.,..., ____,,_ _1 . ,. .
Jan 16, 2012 §Continue researching case law for opposition to JC $250.00 2.4 $600-00
‘Nowat<’s Motion to Set Aside Entry of Defauit
Jan 17, 2012 Begin preparing opposition to Nowak‘s Motion to Set JC $250.00 1.1 $275-00
__ _ _ _A_9_'_99 E_rir_ry 9_r_ _D_9_r9,9'_'r_ _ __ ________ __ _ __ _____ _________
Jan 18, 2012 Continue preparing opposition to Nowai<'s ivlotion to JC $250.00 3.1 $775-00
_ Set Aside Entry of Defauit
Jan 19, 2012 Prepare Motion to Strike JC _ $250.00 2.1 $525-00
Jan 20, 2012 Fina|ize and Fiie Motion to Strike and opposition to Ddi3 $285.00 0.8 $228-00
_ _ _ __ _ _ '_y'f?r_‘_?r_‘_ 19 reverse 99199‘1 _ __ _ _ _ _ _ _
Jan 29, 2012 initial review of i\iowai<’ s filing to determine deadline JC $250. 00 0 52 ` $155~00
to respond 3
Feb 6 2012 41l3eview Nowak's Answer and Counterciaim JC $250.00 1.08 $270~00
Feb 7, 2012 §i3eview court order re: discovery; Fieview status of DJi3 $285.00 0_2 $57-00
website; Correspondence to ciient.
Feb 7, 2012 Begin researching and preparing i\/iotion to Dismiss JC $250.00 4.25 $1,062._50
Feb 8, 2012 Finish preparing Motion to Dismiss JC $250.00 5.1 $1,275-00
Feb 1_3, 2012 _F:naiize and f le Motion to Strii<e/Dismiss. DJR $285.00 1.3 $370-50
Feb 15, 2012 1Begin preparing i\/iotion to Compei i\/lediation and JC $250.00 1 2.15 $537.50
_ __ _ _ 1'_\/'_9_“9"_ _r__9 O_r9_9_r D9999*t‘9r‘ __ __ _ __ __ __ __
Feb 16, 2012 Finish preparing Motion to Compei Deposition and JC $250.00 1.29 $322-50
_ Motion to Or_d_er Med_iati_c_n __ . __ _ ____ __ __ _____ _
Feb17, 2012 _Finaiize and file i\/iotion to Compei Depositions. DJi3 $285.00 0.7 $199-50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Feb 21, 2012 §Ftevise Motion to Order l\/lediation to be a l\/lotion for JC $250.00 1.1 0275.00
§Extension 01 Time for l\/lediation l i
Fep 22 2012 §Finalize and tile l\/|ed1ation motion. DJFt $285.00 0.7 $199.50 '
' Feb 23 2012¥…' m _ F'repare l\/lotion tor Sanctions against Nowak JC $250. 00 4.2 $1 050 00
v Feb 24 2012 Fina|ize and 1ile Motion for Sanctions M._§DJR 5255. 00 0.8 r_ $228 00
Feb 27, 2012 Fteview court order ret l\/lot1 n to Compel Deposition DJR $285. 00 0.2 057 00
l\/lar16, 2012 Begin reviewing Nowak‘s discovery responses and JC $250. 00 1.5 § 0375 00
preparing motion tor summary judgment
lvlar 19, 2012 Continue researching and preparing Motion for JC $250.00 4,53 $1.132.50
Summary Judgment; begin reviewing Nowal<'s
discovery responses v
i\/lar 20, 2012 Continue preparing Motion for Summary Judgment JC $250.00 4.08 $1.020.00
l\/lar 21, 2012 Finish drafts of Motion for Summary Judgment and JC $250.00 4.78 $1,195.00
Motion for Leave
' l\/lar 22, 2012 Draft and 1ile motion regarding previously filed DJFi $285.00 0.3 $85.50
§motion tor sanctions _ §

Nlar 22, 2012 § Ftevise Motion for Sumrnary Judgment 110 …_ _$250. 00 1105 4_ §§ `0262-50
_l\/lar_ 23, 2012 Finalize and tile 2 motions for summary judgment DJR $285. 00 4.2 01,197.00
l\/|ar 26, 2012 Prepare Motion to Withdraw l\/lotion for Leave to Fiie JC $250.00 0.3 075-00
.1 _ 1, M5555‘." EXC€‘SS 5555_ 5§9?_5 m . _ .
l\/lar 29, 2012 Prepare Notice of Voluntary Dismissal 01 Detendants JC $250. 00 1.1 0275.00

:Fella and Soi°tLayer
l\/lar 30, 2012 Correspondence from client; Review status 01 site DJFt $285.00 0.3 085-50
_>__ 0 v _ k and Google results; Correspondence to client _'
551 15 5515 . Bev.'ew Nowak 8 MO“Q" 105 L£°<av@ __ 95 ____...5555 55 1 _9-_~5__ , $7:‘?:55
Apr 17 2012 Ftesearch and prepare opposition to motion tor leave _ »JC _ $250. 00 §4.1 ‘ $1,025-00
l\/lay 11, 2012 Begin researching and reviewing rules tor Pretrial JC $250. 00 2.‘13 $532~50
q Statement
l\/lay 14, 2012 ,Review discovery documents from Nowak and JC $250.00 3.2 $800-00
lP|aintif“l“s' documentation; begin working on Pretria|
Statement 4
l\/lay 16, 2012 Continue preparing Pretriai Statement JC $250.00 3.05 $762-50
411/lay16, 2012 E~mail from Nowak re: motion for continuance JC $250.00 0.2 050-00
l\/lay 17, 2012 Begin researching model instructions and cases for JC $250,00 1.15 0287.50
iv ' § l_L_||'_V lnS'f|'UCUOnS - ~~; jj ; d w m n
Niay 17, 2012 ‘Revise motion to continue pretrial conference JC $250 00 § 02 § $50-00
l\/lay 18, 2012 Continue researching cases and model instructions JC $250 00 2.88 $720-00
v *‘for' jury instructions
l\/lay 18, 2012 Ftevise motion to continue pretrial conference JC $250.00 0.2 $50.00
y11_/lay 21, 2012 '_ _ E~mail to Nowak re: Pretrial Statement JC $250.00 0.5 $125~00
l\/lay 21, 2012 §Continue preparing jury instructions JC $250 00 3.5 $875 00
May 22, 2012 v 'Continue preparing jury instructions and voir dire v v _ » JC $250 00 '_ 224 …_ $560 00
i\/iay 23, 2012 §.Continue preparing jury instructions and voir dire ` JC w »__§250. 00_4_ _. 233 _l $582 50
lVlay 24, 2012 §Finish preparing jury instructions and voir dire JC $250. 00 2.5 ' $025-00
May 24, 2012 §E~mail from Nowak re: Pretrial Statement and JC $250.00 0.2 $50-00
deposition
l\/lay 25, 2012 §E-mail from Nowak re: Pretrial Statement and JC $250.00 0.2 $50-00
§deposition

$250.00h

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

  

 

 

  

 

 

 

 

 

 

 

 

Jun 1, 2012 §Fievise Pretrial Statement """""""" j JC 1.53 $382,59
Jun 5, 2012 ‘Correspondence from court re: filing by Nowak; l 13Jl8 8285.00 0.4 _ $114.00
§'Fieview filing; Telephone call with client 7 l ‘
Ju115, 2012 E-mail to Nowak re: pretrial statement and deposition w Md(§" 4 8250:00 v 02 v 8515'.00
Jun 5, 2012 tll’repare Notice of Deposition to Nowak JC 8250.00 0.42 $105.00
Jun 5, 2012 §Begin preparing trial brief ' JC 8250.00 2.54 $535-00
Jun 14, 2012 Correspondence filed by Nowak. DJ18 $285.00 0.2 $57.00
dun 17 2012 E-mai| to client re: witnesses and exhibits JC 8250.00 0.2 z $50-00
Jun 18,2012 F1nalize and file pre-trial brief, jury instructions, voir DJFi $285.00 2 $570.00
dun 1 82012 18evise and 111181129 voir dire, jury instructions pretrial JC $250.00 1.83 d "'$“.157~-`§6
' statement verdict form, and trial brief 1 .
Jun 19,“2“012 .Travel time to Florida for pre-trial conference DJFi $285.00 2 $570.00
,(capped at 2 hours as a courtesy to client) __' ¢… M m _` … __ j 9 _ _
Jun 20 2012 ' v ‘Prepare for and attend pre-trial hearing 9 :13.118 4 n $285. 00 3'.1 'N988555
Jun 20 2012 §Travel time from Florida re: pre-trial conference v 13Jl8 '“~499~798285 00 § 9 20 M … d ~§5;0;'0"0
(capped 912 hours as a courtesy to client) 1
dun 29, 2012 Beginmr_esearch on trademark damages JC 8250.00 1 .05 $262-50
Ju| 2, 2012 _ Review Nowak‘s filing JC 8250.00 0.42 $105-00
Jul 2, 2012 Continue researching trademark damages and JC 8250.00 1.5 $375.00
waiver of damages
Ju| 2, 2012 E-maii from local counsel re: Nowak filing JC 8250.00 0.2 $50-00
Jul 6, 2012 iResearch injunctive relief requirements and options JC $250.00 1.53 $352-50
Jul 9 2012 Prepare notice and motion to withdraw damages JC 8250.00 1.15 $287-50
1111 9, 2012 m "Review exhibits ioririai Jc 9250.00 o.e $150.00
'Jul 11 2012 Fina|ize and file notice regarding damages. DJl8 8285.00 0.5 $142-50
1191 13, 2012 Prepare exhibits, exhibit list, and witness list for trial JC 8250 00 2.53 $632-50
g1111 14 2012 m Finalize preparation of documents necessary for trial DJl8 9 8285 00 1.2 $342~00
Jui 14 2012 ' Travéi time 191 tria1. " w '"'9285 00 3 " …~'§1355'.09
Jul 15 2012 l8eview case documents prepare for trial l 8285 00 n d 9” w '"8"2:565."00'
Jul 16 2012 Representation at trial in 8285 00 n 10 v § ."4§2“.*8“56-130`
Jul 17, 2012 Travel time for trial. D.118 w 8285 001-kw 81 9 "'2$1855-130
Jul 27, 2012 ;Prepare response to Court’s order and orders for JC 8250.00 2.4 $600-00
§damages and injunctive relief
41111|30,2012” YHevise order on damages and proposed injunction D.iFi 1 $285,,00_,_: . $228 00 _. ,.
Tot.al Labor. ,_...….,, ....… .. . .,... , . .. _.c.. . v . ,. ….,. ...M ...... _.__ _. _2 _
Exp_enses
Dai:e ` 1
Jun13 2012 Cost of airline travel to Tampa re: pre~trial § 8367.18 886; 18
conference
WJun 292012 Hote| cost for pre-trial hearing 5 81 67. 10 81 67. 10 m
Jun 22 2012 Fierita| car cost 829 84 829. 84 _
` Jui ii 2012 1191<911_9 1=1911991‘9r11191.m 9370 59 9370. 59 "
1111 15 2012 one ni9h1 9919119 Tam99 " 9122 08 ‘ "9122 08 " "
Jul 15, 2012 Car rental expense 8123.16 8123.16
T°ial EXP¢"S.?S $:111.79-.95_. _ _ §1,117_,9-.?.5

 

.963,396.45§

EXHIBIT B

 

 

DATE

Ol/lO/ll

Ol/lO/ll
Ol/ll/ll

01/11/11
01/12/11

01/12/11

01/13/11

01/14/11
01/14/11
01/18/11
OZ/Ol/ll
02/08/ll
`92/??‘/ 11

03/01/]1

03/02/1]

03/04/11
03/08/11

DESCRIPTION OF SERVTCES RENDERED

Assist in filing Compiaint; obtain filing fee for complaint;
prepare Civil Cover Sheet and Sunn:nons.

Review complaint and gather information for filing

Continue to assist in filing Compiaint; finalize Civil
Cover Sheet and Summons; prepare CD of all documents
to be filed

Review complaint; attention to filing and service of same.

Locate process server in Lackawaima, NY; arrange for
service of Summons and Compiaint on John J. Nowak.

Attention to status of filing and serving complaint; review
inquiry from B. Pelc regarding procedure; respond to
same

Review tilings; attention to compliance with court's
standing order regarding lengthy documents;
correspondence to D. Rivera regarding court filings
and motion for admission pro hac vice; respond to
inquiry from B. Pelc regarding status of service.

Receive and review outgoing communication to opposing
counsel from T. Timmerrnan.

Prepare courtesy copy of Compiaint for delivery to Judge
Kovachevich.

Telephone conference with process server to check on
status of service on J. Nowak.

File Afhdavit of Service on Nowalc.

Review message from E. Gegan; correspondence to D.
Rivera regarding same; telephone conference with B.
Pelc regarding same.

Review motion to dismiss; correspondence to D. Rivera
',,.regardmgsame;,,__m.. _… ,, .,_. ._

Conference with D. Rivera regarding pro hac admission to
the Middle Distiict of Florida; prepare Motion for
Admission Pro Hac Vice for Domingo Rivera; prepare
Special Ad.mission » Attorney Certiiication.

Fuither communications With D. Rivera regarding pro hac
admission to the Middie District of Florida; telephone
conference with Clerk of Court to confirm filing fees and
procedures

Receive and review Defendant‘s Motion to Dismiss.

Telephone conference with D. Rivera regarding
conversation regarding arrest warrant for John Nowak.

 

 

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05/24/11

DESCRIPTION OF SERVICES RENDERED

Reviewing memorandum of law in opposition to motion to
dismiss; attention to procuring extension of time for same;
conference with J. Stearns regarding same.
Review/edit/revise response to motion to dismiss;

draft/edit/revise motion for enlargement of time to
respond.

Conference with J. Steains regarding response to motion
to dismiss; attention to file; review notice of designation;
correspondence to D. Rivera regarding sarne.

Review/_edit/r_evise response to motion to dismiss ;
draft/edit/revise motion for enlargement of time to
respond.

Review and comment on response to motion to dismiss

Review{edit/revise response to motion to dismiss;
draft/edit/revise motion for enlargement of time to
respond.

Prepare draft Case Management Report.

Fnrther attention and revisions to response to motion to
dismiss.

Fina]ize Motion for Pro Hac Vice and all related
paperwork; obtain Hling fee for Pro Hac Vice.

Edit, revise and file motion for admission pro hac vice;
correspondence to D. Rivera regarding same; prepare for
and participate in case management conference;
telephone conference with D. Rivera regarding same; edit
and revise case management report; correspondence to E.
Gegan and D. Rivera regarding same

Arrange for filing of Special Admission Attorney
Certitication.

Attention to file; draft and file notice of compliance with
3.01(g) regarding Nowak’s Withdrawal of opposition to
motion to appear pro hac vice.

Attention to file and correspondence regarding motion for
leave to file reply affidavit in support of motion to
dismiss and transfer venue.

Corres ondence With opposing counsel regarding notice
of me iation conference

 

`05/27/11
05/31/11

06/02/1 i
06/06/1 i

06/14/11

Review Nowak's initial disclosures; follow up with Di v
Rivera regarding same.

Review initial disclosures received from E. Gegan;
correspondence to R. and B. Pelc regarding same.

Correspondence with opposing counsel regarding
selection of
mediator.

Multiple exchanges regarding mediation and amending
the complaint; draft and tile notice of selecting
mediator.

Review new defamatory website posted by Nowak in
preparation for amended complaint; correspondence with
D. Rivera regarding same.

 

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Ji>s .60 $250.00 3150.00
n>s .50 s250.00 $125.00

 

 

DATE DESCR]PTION OF SERVICES RENDERED

06/24/11 Review amended complaint in preparation for filing
same.

06/3 ()/11 Telephone call with D. Rivera to discuss amended
complaint and edits and revision to same in light of
conversation

07/01/11 Review/edit/revise amended complaint and
correspondence with D. Rivera regarding same.

07/19/11 Review response to Motion for Leave to Amend
Compiaint; correspondence to Richard and Betty Pelc
regarding same.

07/28/11 Telephone call with opposing counsel to discuss
outstanding discovery.

03/03/11 Phone call with E. Gegan regarding his motion to
withdraw as counsel and his client's request to
supplement his responses to the discovery requests;
correspondence regarding same.

08/22/11 Review orders on Motion to Amend/Supplement
Compiaint and Motion to Withdraw.

10/11/11 Review Amended Complaint; correspondence to D.
Rivera regarding same.

10/12/11 Phone call to Judge Kovachevich’s clerk regarding
inadvertently filed amended complaint; phone call with
Domingo Rivera regarding same.

01/09/12 Review motion to set aside default; correspondence to D.
Rivera regarding same.

0] /16/12 Review and consider Motion to Compel.

01/25/12 Review and evaluate answer and counterclaim Eled by J,
Nowak; correspondence to D. Rivera regarding
thoughts on how to address same.

02/07/ 12 Review order granting motion to compel.

02/13/12 Review Motion to Strike Answer and Dismiss
Counterclairn. '

02/15/12 Review e-inail from J'. Nowal<; attention to internal
SLK communications regarding same; correspondence to
R. and B. Pelc regarding same; correspondence to D.
Rivera regarding same. _

02/16/12 ~Review/analyze various »avenues»»to sanction Nowak.for _. .
sending harassing emails,

02/21/ 12 Phone call with D. R_ivera's OHice regarding mediation

02/23/12 Correspondence with D. Rivera's office regarding
Nowak‘s discovery.

03/26/ 12 Review motions for summary judgment and motion for
enlargement of number of pages; correspond to D. Rivera
regarding same.

04/02/12 Receive and review documents from Nowak.

04/17/12 Review inquiries from D. Rivera regarding pre-trial
obligations and local rules7 respond to same.

05/10/12 Research local rules to determine whether lead counsel in

a case has to be present during a pretrial conference

 

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07/09/12
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07/30/12

DESCR[PTION OF SERVICES REN])ERED
Researcli the requirements for and draft a motion to
continue pretrial conference

Revise/edit motion to continue pretrial conference; phone
call and correspondence with J. Chiang regarding same.

Email to Domingo Rivera regarding deposition of
Nowak.

Prepare for and attend Pretrial Conference.

Receive, review and respond to communications nom co-
counsel; Receive and review Order received from Court.

Correspondence to D. Rivera regarding thoughts on
strategies to conclude case.

Receive and review court filings
Prepare for and attend trial.

Reviewing and commenting on proposed motion and
order for damages and injunctive relief

 

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64.80 szi,oss.s`o

FEES:

TOTAL HOURS FOR J. Todd Timmerrnan: ll.75 hours @ $410.00/hour =
TOTAL HOURS FOR J. Todd Timmerman: 18.80 hours @ $425.00/hour =
TOTAL HOURS FOR Mindi M. Richter: .30 hours @ $305.00/hour =
TOTAL HOURS FOR Jason P. Stea.ins; 20.85 hours @ $250.00/hour =
TOTAL HOURS FOR Jason P. Stearns: 2.20 hours @ $265.00/hour =
TCTAL I~IGURS FOR Elena A. Kohn: 2.00 hours @ $ZZ0.0D/hour =
TOTAL I-IOURS FOR Lori A. Nelson: 7.80 hours @ $215 .OO/hour =
TOTAL HOURS FOR Lori A. Nelson: l.lO hours @ $220.00/h0ur =
TOTAL FEES:
COSTS:

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Filling Fees; Clerk of Court (Paid l/lO/ll, cl<. #101813) (1/25/11)

Service of Process; Esquire Process Servers, LLC (Paid l/ 12/1 l, ck.#101876) (1/25/ ll)
Court Costs; Clerl< US District Court (3/17/11)

TOTAL COSTS:

GRAND TOTAL FEES AND COSTS:

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